









Dismissed and Opinion filed July 31, 2003









Dismissed and Opinion filed July 31, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00473-CV

____________

&nbsp;

ROBERTO
MONTELONGO, Appellant

&nbsp;

V.

&nbsp;

DONALD
ERVIN, Appellee

&nbsp;



&nbsp;

On
Appeal from the 234th District Court

Harris
County, Texas

Trial
Court Cause No. 02-46299

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed April 8, 2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 19, 2003, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed July 31, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

&nbsp;





